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  2022 planning 2-pager: GPB as Platform of Choice
  Proposal type: Continuation
              Mrinalini Loew Hareesh Pottamsetty Alex Musil Federico Colla Andrew ZaeskePaul Cooper Ya-Bing Chu Mekka Okereke Natascha Bock Steve Arthur Mike Marchak
  Proposers                                     ,         ,                                                                                ,
  Stat .is: Draft I Ready for Proposal( Ready for Review


  PROPOSAL

  What problem / opportunity are you after?
       •     Developers & Users will have more choice in check-out post Halla & Everest -- what are we doing to
             make GPB the platform they *want* to choose?
       •     As Developers are coming onto GPB (post payments policy), some are noticing that GPB doesn't
             compareto previous solutions in performance A/B tests. They attribute this to multiple factors:
                 O Not enough local FOP support (or checkout with local FOP experience doesn't match in-
                    market consumer expectations)
                 O Poor Platform performance (cart conversion, payment auth, invol churn for subs)
                 O Missing platform features to support their business models / GTM strategy
       •     Users don't always recognize all the work we do to give them a trusted platform. We need to elevate
             the product offering by leaning into the three pillars of trust, convenience, value:
                 O Convenience: Make GPB the obvious choice b/c of FOP availability, FOP usage, meeting
                    buyers where they are
                 O Value: GPB provides extra value when faced with alternatives (eg. Loyalty, Growth Offers,
                    etc). Users should feel comfortable that they are getting the best value
                 O Trust: Tablestake to user choice, can become a differentiator in some cases.

  Tianiirn notes:
     • ensure payments PA dependencies called out
                                                                                                                                        Exhibit 1710
  What does success look like?
       •     GPB rev continues to grow at current rate (2025 forecast: $XXB, X% CAGR)
       •     For digital choice (GPB Everest), GPB supports >90% of spend b/c:
                O days can easily quantify the positive ROI for integrating with GPB, with high DSAT
                O users choose it when faced with a decision

  What is the proposed solution?
  For developers, we must show demonstrable & indisputable ROI vs. alternative options (consumption
  only, 3PB) through demonstrating that GPB can *easily* support any current or future business model for
  their global business, deliver strong platform performance and a focus on features that uniquely add
  value to their business.

  In case they still choose to supplement Play Billing with 3PB, we must also connect directly with users and
  give them a compelling case to check out with Play Billing based on trust, convenience & value.



   Initiative                                User Value                                                  Developer Value



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                                                                                                                                                 Exhibit 1710-001
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  Maximize FOP'd Users         •   Convenience: When deciding         •   Performance: Devs will see
                                   how to check out. FOP                  improvements in cart
                                   availability is often a deciding       conversion with more FOP'd
                                   factor.                                users.

  Best in class platform       •   Convenience: Easier                •   Performance: Devs will see
  performance (cart                checkout, less friction on             noticeable impact on
  conversion, FOP auth             wanted subscriptions                   buyers/spend
  rates, subs churn)           •   Trust: Users trust that they'll
                                   be able to reliably purchase
                                   digital content & services

  Google/Play Unique           •   Value: Play Points '4' Growth      •   Performance: Demonstrate to
  Value Adds (User)                Offers tip the scale when all          devs that users who appreciate
                                   else is considered equal.              these "value-adds" increase
                                   Leverage network effect of             conversion/retention for them,
                                   stored points.

  Google/Play Unique           •   n/a                                •   Performance: Lean in on
  Value Adds (Developer)                                                  features that demonstrate
                                                                          business performance impact
                                                                          *but only work on GPB'
                                                                      •   Choice: Some features will only
                                                                          be offered to developers who
                                                                          exclusively use GPB (eg.
                                                                          AGPB), bic the feature breaks /
                                                                          doesn't make sense in a world
                                                                          of choice.

  Explicit & Public Focus      •   Trust: User knows exactly          •   Choice: Stronger dev
  on User Trust                    what they are paying for, that         marketing and reporting
                                   they will have a secure                showcase how much fraud &
                                   checkout, and their data               abuse we are shielding the
                                   privacy settings will be secure        developer from
                               •   Trust: Users values access
                                   additional set of features that
                                   allow them to opt-in to
                                   upgraded trust features that
                                   are personally important &
                                   relevant to them (eg. families)



     1. FOPs Strategy as a PO
        What is the proposed solution?
          O 10X local FOP support, globally (Imali e-Wallet/Pedirect & I FC) #payments #androidBD
          O Android + Play make adding FOP key element of onboarding #Android #Store #Points #PCO
          0 Payment activation as a top priority, including plugging into FOP-promo ecosystem #RPA

        Success Metrics
           • Primary: RTP Play Users
           • Supporting: Cart conversion, orders, buyers

        How much of a difference will this make?
          • FOP'd carts conversion = X% vs. unFOP'd carts carts = r'%



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                                                                                            Exhibit 1710-002
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            •   When users have choice, it will be more convenient for them to choose GPB b/c they already
                have FOP on File,
            •   FYI, other app stores make this the TOP priority
            •   Devs less likely to supplement GPB with 3PB b/c of FOP reasons

        How do we make it happen?
          • Strategic alignment that FOP'd users are important to Play
                O Willingness to cue users to add FOPs throughout user lif°cycle (eg, onboarding, store,
                   notifs, etc)
          • Ringfenced team in Payments
                O Can move fast with us, on our prioritize
          • Headcount
                O Play: TED
                0 non-Play: TBD
          • Budget
                O FOP Activation Budget
                O Partnership Budget (RPA)
          • xP&E/PA partnership:
                O Android
                O Payments

         Best in Class Platform Performance
         What is the proposed solution?
         MUCH larger investment into the commerce performance metrics hat are regularly complained
  about by dens:
            0 Cart Conversion (FOP Adds, Authentication, Buying Intent) #payments
            O Payments Success (across all global FOPS, for one--time & auto-recurring) #payments
            O Subscriptions Performance (Increase F2P, decrease invol churn) # payments
            O Support for Global Business Models (eg. BNPL, creator -community needs) #payments

        Success Metrics
           • Primary:
                 O Cart Conversion
                 O Subscription Invol Churn

        How much of a difference will this make?
          • Developers more likely to choose / stay with GPB
                C) Developer success is the goal!
                C) Less likely to supplement with 3PB bic our billing doesn't support their business
                    models (eg. UPI for Subs)

        How do we make it happen?
          • Headcount
                O Play: TED
                O Payments: TBD
                O ID:
          • xP&E/PA partnership:
                C) Payments
                O Identity (authentication is the biggest drop off point, need partnership here to
                   improve cart conversion)


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                                                                                           Exhibit 1710-003
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     3. Goo                 ue Value Adds
        What is the proposed solution?
          0 Invest in providing extra value for Buying with GPB: Play Points & Growth Promos
          0 Provide Developers specific Insights & Optimizations to unlock Android's massive user base
              (eg. scaled pricing guidance + NB testing)
          C) GPB-exclusive features (unavailable on 3PB), (eg, Play Gift Cards, promo support)

        Success Metrics
           • Primary: GPB >90% of choice (for devs & users)

        How much of a difference will this make?
          • Users will choose Play billing even if there are slight price differences, Pic of the value of
             paying with COB
          • Insights & optimizations can increase Buyer ';,10 (eg. localized pricing business model
             guidance)
          • Developers choose Play billing blc:
                C) User want it
                C) Access to GPB features that are Only available to GPB-exclusive devs

        How do we make it happen?
          • Headcount
                0 Play: TBD
                0 Payments: TBD
                C) ID:


     4. Commitment to Trust is visible & valued by all ecosystem
          C) Protect ecosystem from fraud & abuse (invest and more actively talk about)
          C) Safe for Parents & Families (move from life-support to actively promoting)
          C) Strong GTM for User Trust Features, including adoption rate targets

        Success Metrics
           • Primary: Reduce ecosystem fraud by X%
           • Supporting:
                 0 Trust Feature Use / Adoption Rates
                 0 PR / Media mentions

        How much of a difference will this make?
          • Stronger proof for the importance of platform trust & safety (for both users & devs) help
             support public narrative

        How do we make it happen?
          • Headcount
                0 Play: TED
          • Team alignments with:
                0 Marketing/PR

     5. Additional Horizontal Opportunities
           0   Play Onboarding Flow (Loyalty Sign-Up, Growth Offers, RTP)



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                                                                                              Exhibit 1710-004
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 REVIEW

 Impact Detail
   • Piovide a !more complete analysis of projected impact overtime (1,•3 years)
     •      Night key assumptions in the model and point out rationaleis,ources for the assumptions
     •   Cal out active work underway to complete mode t app cable


 Risks
     •   What are the risks pursuing this? If we do not pursue it?
     •   What is difficult about executing?
     •   If this project doesn't nave the Impact described above, why wou that be?


 Project Breakdown
     •   Breakdown the project by key components (in stack rank order) and outline youassumed HC per
         team that is ike y needed
     •    nclude XFN in your HC assumptions
     ▪   Highiight where incrementa 1-C is needed, assuming this is the top priority for each of the teams
         involved (beyond their core efforts)

  Stack Ranked Projects
   Project / Component       Rationale / Business      Existing FIC & what they    Incremental FIC & what it will
                                    Case                  can do next year                  unlock

   <,Sample                <<Why this is              X People can:                +Y people can:
   component»              important»                    • Project I                   • Project 1+4-
                                                         • Project 2                   • Project 3
                                                                                       • Project 4
                                                      For new projects, this
                                                      column might be 0.           Be clear on what roles are
                                                                                   needed (eg. PM, Eng, UX, BD
                                                                                   Dios, etc.)




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                                                                                              Exhibit 1710-005
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                                                                         Exhibit 1710-006
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  Guidelines for filling in the template
 Phases
  There are two phases for this template: the Proposal phase, and the Review Phase.

 The Proposal phase outlines the opportunity or problem to be solved, and makes the case for why if     is
 important (largely defined by how wel it contributes to the strategic pillars). At this Phase. only high level '1
 shirt sizing and impact on metrics is needed. However, it's critical to identify the key teams who will need to
 collaborate on the next level of detail for the initiative going into the Review phase.

  The Review phase adds more detail, such as risks, more impact analysis and more clear resource needs.
  A so, the initia sections under Proposal can be updated with new information as appropriate.

  New or Continuation
  You can specify whether an initiative is completely new, or s argely a continuatic,n of work already
  underway. in either case. the information needed is the same. Even for continuation initiatives, it's a time to
  take stock and rearticu ate the origina goals and rationale; especial y after earning more from bui ding or
  being in-market.

  2-pager length
  We know communicating ideas succinctly takes longer and is harder than writing dozens of pages. but in
  order to makeit possible for all attendees to read and ab.sorbthe proposals. we ask you to stay under 4
  pages with the final proposals. This will likely, requ re you to summer ze and align the narrative across teams
  and leads, but we believe this exercise is a key part of strategy p and: ng and worth your time.




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                                                                                                   Exhibit 1710-007
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  lritiative       User Value                       Developer Value                 Projects


  FOPs               •   Convenience: When           •    Performance: Devs           •     10X local FOP support,
  Strategy               deciding how to check            will see improvements             globally (Imali e-
                         out, FOP availability is         in cart conversion with
                                                                                            Wallet/Redirect & I FC)
                         often a deciding                 more FOP'd users.
                         factor.                                                            #payments
                     •   Value: Users benefit                                               #androidBD
                         from FOPs ecosystem                                          •     Android + Play make
                         value amplifiers                                                   adding FOP key
                                                                                            element of
                                                                                            onboarcling #Android
                                                                                            #Store #Points #PCO
                                                                                      •     Payment activation as
                                                                                            a top priority,
                                                                                            including plugging into
                                                                                            FOP-promo
                                                                                            ecosystem # RPA

  Best in class      •   Convenience: Easier         •    Performance: Devs         MUCH larger investment into
  platform               checkout, less friction          will see noticeable       the commerce performance
  performance            on wanted                        impact on                 metrics that are regularly
  (cart                  subscriptions                    buyers/spend
                                                                                    complained about by devs:
  conversion,        •   Trust: Users trust that
  FOP auth               they'll be able to                                           •     Cart Conversion (FOP
  rates, subs            reliably purchase                                                  Adds, Authentication,
  churn)                 digital content &                                                  Buying Intent)
                         services                                                           #payments
                                                                                      •     Payments Success
                                                                                            (across all global FOPs,
                                                                                            for one--time & auto-
                                                                                            recurring) #payments
                                                                                      •     Subscriptions
                                                                                            Performance (Increase
                                                                                            F2P, decrease invol
                                                                                            churn) #payments

  Best Global        •   Convenience: Users          •    Global Biz: Days can      Support for Global Business
  Business               can access paid                  be globally successful    Models (eg. BN PL, creator --
  Support                content in ways that             leveraging local          community needs)
                         are familiar to them             commerce norms, and       #payments
                                                          can optimize their
                                                          multi--national
                                                          businesses

  Google/Play        •   Value: Play Points +        •    Value Amplifiers:         Invest in providing extra value
  Unique Value           Growth Offers tip the            Demonstrate to days       for Buying with GPB: Play
  Adds (User)            scale when all else is           that users who            Points & Growth Promos
                         considered equal.                appreciate these
                                                           value-adds" increase
                                                          conversion/retention



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                                                                                               Exhibit 1710-008
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                                                     for them.



  Google/Play      •   n/a                       •   Value Amplifiers: Lean   •     Provide Developers
  Unique Value                                       in on features that            specific Insights &
  Adds                                               demonstrate business
                                                                                    Optimiz
                                                                                    Optimizations to
  (Developer)                                        performance impact
                                                                                    unlock Android's
                                                     *but only work on
                                                     GPB*                           massive user base (eg,
                                                                                    scaled pricing
                                                                                    guidance + A/B
                                                                                    testing)
                                                                              •     GPB-exclusive
                                                                                    features (unavailable
                                                                                    on 3PB), (eg. Play Gift
                                                                                    Cards, promo support)

  Explicit &       •   Trust: User knows         •   Global Biz: Stronger     •     Protect ecosystem
  Public Focus         exactly what they are         dev marketing and              from fraud & abuse
  on User Trust        paying for, that they         reporting showcase
                                                                                    (invest and more
                       will have a secure            how much fraud &
                       checkout, & their             abuse we areshielding          actively talk about)
                       data/privacy will be          the developer from       •     Safe for Parents &
                       secure                                                       Families (movefrom
                   •   Trust: Users value opt-                                      life-support to actively
                       in trust features to                                         promoting)
                       that are important to
                       them (eg. families)                                    •     Strong GTM for User
                                                                                    Trust Features,
                                                                                    including adoption
                                                                                    rate targets




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                                                                                       Exhibit 1710-009
